Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 1 of 12



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 19-cr-60200-FAM-2

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  SEBASTIAN AHMED,

        Defendant.
  __________________________________/

          DEFENDANT’S SECOND MOTION TO MODIFY BOND CONDITIONS
          (TO VISIT HIS MINOR CHILD), ARGUMENT IN SUPPORT OF SAME,
                           AND REQUEST FOR HEARING

         Defendant, SEBASTIAN AHMED (“AHMED”), by and through undersigned counsel,

  files his Second Motion to Modify Bond Conditions (To Visit His Minor Child), Argument in

  Support of Same, and Request for Hearing:

                                    I.        INTRODUCTION

         1.      On July 11, 2019, the Government filed a sealed Indictment against AHMED

  charging him with one count of conspiracy to commit health care fraud and wire fraud in violation

  of 18 U.S.C. § 1349 (Count 1); ten counts of health care fraud in violation of 18 U.S.C. §1347

  (Counts 2–11); one count of conspiracy to commit money laundering in violation of 18 U.S.C. §

  1956(h) (Count 12); and ten counts of money laundering in violation of 18 U.S.C. §1957(a) (Counts

  13–22). (D.E. 1).

         2.      On July 19, 2019, AHMED was arrested and appeared before the Court for his

  Initial Appearance, at which time the Court entered an Order to Unseal the Indictment, and

  AHMED was pretrial detained pursuant to the Government’s request. (D.E. 13).
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 2 of 12



         3.      On July 24, 2019, Magistrate Judge Patrick M. Hunt entered an Order noting that the

  parties had stipulated to a $250,000.00 corporate surety bond with a Nebbia condition and certain

  other special bond conditions, including home detention with electronic monitoring and a limitation

  on travel to the Southern District of Florida. (D.E. 19).

         4.      On August 2, 2019, AHMED posted the $250,000.00 corporate surety bond and

  satisfied the Nebbia condition. (D.E. 31). Pursuant to AHMED’s special bond conditions, he is

  required to participate in the home detention program with electronic monitoring, as part of which

  he is restricted to his residence at all times except for (1) medical needs or treatment, (2) court

  appearances, and (3) attorney visits or court ordered obligations. (D.E. 31). AHMED’s special

  bond conditions further authorized travel within the Southern District of Florida provided he notify

  Pretrial Services of his travel plans before leaving and upon return. (D.E. 31). AHMED’s special

  bond conditions also required, inter alia, that he close Arnica Health, LLC (“Arnica”) and Medi

  MD, LLC (“Medi”) and have no involvement in health care employment of any kind—this

  condition has been satisfied. (D.E. 31).

         5.      Unrelated to this matter, AHMED has a custody and visitation petition pending in

  Leon County, Florida (Case No. 2011 DR 001544) before Circuit Judge Martin A. Fitzpatrick. This

  lawsuit was originally filed, on May 2, 2011, by AHMED against his former partner, Natalie

  Mitchell, to determine and establish paternity of the couple’s minor child and to establish a

  parenting plan and child support.

         6.      On February 9, 2012, the State Court entered a Final Judgment of Paternity noting

  that AHMED “has shown to be extraordinarily committed to [his] child” and establishing an

  extensive parenting plan for time sharing of the child and a child support schedule, to which

  AHMED has faithfully adhered.



                                                     2
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 3 of 12



          7.      On July 24, 2019, following AHMED’s arrest and pretrial detention, Ms. Mitchell

  filed a Verified Motion for Emergency Relief with Request for Ex-Parte Relief requesting, inter

  alia, temporary full custody of the couple’s child pending the resolution of this case and restrictions

  on AHMED’s visitation with his child.

          8.      On August 8, 2019, the State Court entered an Order granting Ms. Mitchell’s

  Verified Motion for Emergency Relief with Request for Ex-Parte Relief, awarding full custody and

  full parental responsibility of the child to Ms. Mitchell, and restricting AHMED’s visitation to

  supervised contact occurring at a visitation center or with a supervisor approved by Ms. Mitchell.

          9.      On September 18, 2019, the State Court entered a Stipulated Order Modifying Order

  Dated August 8, 2019, which modified the August 8, 2019 Order, inter alia, as follows:

                  Based on the foregoing, and assuming the Father’s travel restrictions
                  are modified in the criminal court, the Petitioner/Father’s timesharing
                  as set out in the Court’s Final Judgment of Paternity entered 2/9/2012
                  is reinstated, except that the Petitioner/Father’s timesharing shall be
                  limited to Northern and Southern Districts of Florida, subject to the
                  conditions of the Petitioner/Father’s bond in the federal matter.
                  However, the child’s travel to the Southern District shall be limited
                  to extended holidays and summers, to include three day weekends;
                  i.e. absent exceptional circumstances, the child will not be removed
                  from Tallahassee during the school year for a normal, two-day
                  weekend.

  (See Stipulated Order Modifying Order Dated August 8, 2019 attached hereto as Exhibit A).

          10.     As a result of the bond conditions imposed sub judice limiting AHMED’s travel to

  the Southern District of Florida, AHMED has not been able to see his nine-year-old child since his

  arrest on July 19, 2019. Between February 9, 2012—the date on which the State Court granted

  AHMED shared custody of his child—and his arrest on July 19, 2019, AHMED had not missed a

  single visitation with his son.




                                                    3
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 4 of 12



                       II.     MOTION TO MODIFY BOND CONDITIONS

           11.    AHMED respectfully requests that this Court modify his bond conditions to permit

  him to travel to and from the Northern District of Florida solely for the purposes of exercising his

  State Court ordered visitation with his nine-year-old child and to attend all necessary court

  appearances in relation to the Leon County, Florida (Case No.: 2011 DR 001544) litigation

  provided AHMED notifies Pretrial Services of his travel plans, at least forty-eight hours, before

  leaving and within twelve hours upon his return.

                                          III.    ARGUMENT

           12.    Florida law provides that, “although one parent may have primary residential

  responsibility for a child, [Florida] law seeks to assure that the child have ‘frequent and continuing

  contact’ with both parents and that parental responsibility for the child be shared.” Mize v. Mize,

  621 So. 2d 417, 419 (Fla. 1993). The implication being that it unfairly damages and harms a child

  to deprive him or her of access to a parent.

           13.    Here, the State Court entered a Final Judgment of Paternity specifically noting that

  AHMED “has shown to be extraordinarily committed to [his] child” and established an

  extensive visitation schedule, so that AHMED would have regular access to his child.

           14.    Although the State Court recently limited that visitation schedule upon the ex-parte

  request of Ms. Mitchell, the State Court did so temporarily and solely as a result of this case.

           15.    Moreover, the State Court subsequently reinstated AHMED’s right to visit with his

  child.

           16.    That said, regrettably, AHMED has not been able to exercise that right since July 19,

  2019 because of his current bond conditions.




                                                     4
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 5 of 12



          17.     Indeed, it has been over two months since AHMED last saw his young son, which is

  reportedly causing significant emotional harm not only to the child, but also to AHMED’s

  relationship with his child.

          18.     AHMED is willing to travel with a licensed bondsperson at his own expense to

  accompany him at all times while traveling to the Northern District of Florida for the sole purposes

  of exercising his Court-ordered right to visit with his child and/or to attend hearings related to his in

  the Leon County, Florida (Case No. 2011 DR 001544) litigation.

          19.     AHMED has already contacted licensed bails bondsperson Holly Apetz of 24 Hour

  ASAP Bail Bonds, who advised that she is agreeable to accompany AHMED at all times while

  traveling to the Northern District of Florida for the sole purpose of exercising his Court-ordered

  right to visit with his child and/or to attend hearings related to the Leon County, Florida (Case No.:

  2011 DR 001544) litigation should the Court modify his bond conditions.

          20.     Should the Court permit this modification, AHMED is willing to post an additional

  corporate surety bond in the amount of $25,000.00 to ensure his faithful compliance with his

  conditions of bond.

          21.     In order to avoid unnecessary Court intervention each time AHMED needs to

  exercise his Court-ordered right to visit with his child, it would be much more manageable to permit

  USPO Rick Samson to approve AHMED’s travel to and from the Northern District of Florida solely

  for the purposes of visiting his child pursuant to his visitation schedule and/or to attend hearings

  related to the Leon County, Florida (Case No. 2011 DR 001544) litigation.

          22.     If this Motion is granted, AHMED will, of course (as he has been), continue to

  advise USPO Samson of all travel-related information, including times of departure and return,




                                                     5
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 6 of 12



  modes of transportation, exact destinations, contact information for relevant parties, and any other

  information deemed appropriate.

          23.     AHMED has proven that he will abide by all the terms of bond as he has to date,

  dutifully complied with same, including complying with USPO Samson’s strict interpretation of

  AHMED’s home detention.

          24.     This Motion is in the best interest of AHMED’s child and is made, in good faith,

  solely for the purpose of AHMED seeking to exercise his right of visitation with his minor son and

  to provide care and emotional comfort for his son.

                             IV.   LOCAL RULE 88.9 CERTIFICATION

          25.     I hereby certify that, pursuant to Local Rule 88.9, I have conferred with AUSA

  Christopher Clark on the foregoing Motion in a good faith effort to resolve the issues raised in

  this Motion and have been unable to do so. AUSA Clark advised the Government opposes the

  relief requested herein.

                                   V.   REQUEST FOR HEARING

          26.     In compliance with Local Rule 7.1(b)(2), undersigned counsel requests a hearing on

  this Motion to address the above issues with the Court.




                                                   6
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 7 of 12



         WHEREFORE, Defendant, SEBASTIAN AHMED, respectfully requests that this

  Honorable Court grant his Second Motion to Modify Bond Conditions (To Visit His Minor

  Child), and grant such other relief as is just and proper.

                                                         Respectfully submitted,

                                                         GRAY ROBINSON, P.A .
                                                         Attorneys for Defendant
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                                                         By: s/Joel Hirschhorn
                                                            JOEL HIRSCHHORN
                                                            Florida Bar #104573




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on October 4 , 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to all counsel of record.

                                                         s/Joel Hirschhorn
                                                         JOEL HIRSCHHORN




                                                    7
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 8 of 12




           EXHIBIT A
Filing #Case 0:19-cr-60200-FAM
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                    E-Filed 09/18/2019    72 Entered
                                       11:44:23 AM on FLSD Docket 10/04/2019 Page 9 of 12
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 10 of 12
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 11 of 12
Case 0:19-cr-60200-FAM Document 72 Entered on FLSD Docket 10/04/2019 Page 12 of 12
